69 F.3d 532
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Phillip Reese BUSH, Petitioner-Appellant,v.Carl LEGURSKY, Warden, Respondent-Appellee.
    No. 95-6315.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  October 12, 1995.Decided:  October 26, 1995.
    
      Phillip Reese Bush, Appellant Pro Se.  Silas Bent Taylor, Deputy Attorney General, Charleston, WV, for Appellee.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Bush v. Legursky, No. CA-90-3-E (N.D.W.Va. Feb. 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.  The motion for appointment of counsel is denied.
    
    AFFIRMED
    